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  AO 435
(Rev. 04/18)
                                                  ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                    FOR COURT USE ONLY

                                                                                                                       DUE DATE:
                                                                  TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                              2. PHONE NUMBER                   3. DATE
                                                                                               
4.                ADDRESS                                                            5. CITY                           6. STATE        7. ZIP CODE
                                                                                                     
8. CASE NUMBER                                 9. JUDGE                                                 DATES OF PROCEEDINGS
                                                   10. FROM             11. TO 
12. CASE NAME                                                                                         LOCATION OF PROCEEDINGS
                                                               13. CITY                14. STATE 
15. ORDER FOR
    APPEAL                                            CRIMINAL                          CRIMINAL JUSTICE ACT                BANKRUPTCY
      NON-APPEAL                                      CIVIL                             IN FORMA PAUPERIS                   OTHER (Specify)

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                   PORTIONS                                      DATE(S)                         PORTION(S)                        DATE(S)
      VOIR DIRE                                                                         TESTIMONY (Specify Witness)      
      OPENING STATEMENT (Plaintiff)                                        
      OPENING STATEMENT (Defendant)                                        
      CLOSING ARGUMENT (Plaintiff)                                                      PRE-TRIAL PROCEEDING (Spcy)      
      CLOSING ARGUMENT (Defendant)
      OPINION OF COURT                                  
      JURY INSTRUCTIONS                                                                 OTHER (Specify)                  
      SENTENCING                                                                       
      BAIL HEARING                                                                    
                                                                                17. ORDER
                            ORIGINAL                                 ADDITIONAL
 CATEGORY             (Includes Certified Copy to      FIRST COPY                           NO. OF PAGES ESTIMATE                   COSTS
                    Clerk for Records of the Court)
                                                                       COPIES
                                                                     NO. OF COPIES
     ORDINARY
                                                                     NO. OF COPIES
       14-Day
                                                                     NO. OF COPIES
     EXPEDITED
                                                                     NO. OF COPIES
       3-Day
                                                                     NO. OF COPIES
      DAILY
                                                                     NO. OF COPIES
      HOURLY


     REALTIME
                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                             ESTIMATE TOTAL
                        (deposit plus additional).                                                                     $              0.00
18. SIGNATURE                                                                        PROCESSED BY
  
19. DATE                                                                             PHONE NUMBER

TRANSCRIPT TO BE PREPARED BY                                                         COURT ADDRESS




                                                          DATE             BY
ORDER RECEIVED

DEPOSIT PAID                                                                         DEPOSIT PAID

TRANSCRIPT ORDERED                                                                   TOTAL CHARGES                     $              0.00

TRANSCRIPT RECEIVED                                                                  LESS DEPOSIT                      $              0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                                TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                            TOTAL DUE                         $              0.00
               DISTRIBUTION:            COURT COPY            TRANSCRIPTION COPY     ORDER RECEIPT        ORDER COPY
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  AO 435
(Rev. 04/18)                                           INSTRUCTIONS


                                                           GENERAL

Use. Use this form to order the transcription of proceedings. Complete a separate order form for each case number for which
transcripts are ordered.

Completion. Complete Items 1-19. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Submitting to the Court. Submit the form in the format required by the court.

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or delivered to the court.
Upon receipt of the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts ordered by the federal
government from the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance due which must be
paid prior to receiving the completed order.

                                                           SPECIFIC

Items 1-19.    These items should always be completed.
Item 8.        Only one case number may be listed per order.
Item 15.       Place an “X” in each box that applies.
Item 16.       Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which transcript is
               requested. Be sure that the description is clearly written to facilitate processing. Orders may be placed for as few
               pages of transcript as are needed.
Item 17.       Categories. There are six (6) categories of transcripts which may be ordered. These are:
                        Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order. (Order
                        is considered received upon receipt of the deposit.)
                        14-Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.
                        Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.
                        3-Day. A transcript to be delivered within three (3) calendar days after receipt of an order.
                        Daily. A transcript to be delivered following adjournment and prior to the normal opening hour of the
                        court on the following morning whether or not it actually is a court day.
                        Hourly. A transcript of proceedings ordered under unusual circumstances to be delivered within two (2)
                        hours.
                        Realtime. A draft unedited transcript produced by a certified realtime reporter as a byproduct of realtime
                        to be delivered electronically during proceedings or immediately following adjournment.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order for
expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate,
and if not completed and delivered within 14 calendar days, payment would be at the ordinary delivery rate.

               Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.
                      Original. Original typing of the transcript. An original must be ordered and prepared prior to the
                      availability of copies. The original fee is charged only once. The fee for the original includes the copy
                      for the records of the court.
                      First Copy. First copy of the transcript after the original has been prepared. All parties ordering copies
                      must pay this rate for the first copy ordered.
                      Additional Copies. All other copies of the transcript ordered by the same party.
Item 18.              Sign in this space to certify that you will pay all charges. (This includes the deposit plus any additional
                      charges.)
Item 19.              Enter the date of signing.

Shaded Area. Reserved for the court’s use.
